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Case:17-03283-LTS Doc#:4298-5 Filed:11/16/18 Entered:11/16/18 17:14:21   Desc:
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Case:17-03283-LTS Doc#:4298-5 Filed:11/16/18 Entered:11/16/18 17:14:21   Desc:
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Case:17-03283-LTS Doc#:4298-5 Filed:11/16/18 Entered:11/16/18 17:14:21   Desc:
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